                                    1                      IN THE UNITED STATES DISTRICT COURT
                                    2
                                                                  FOR THE DISTRICT OF ALASKA
                                    3
                                         WALTER STOCKWELL                      )
                                    4                                          )
                                                            Plaintiff,         )
                                    5            vs.                           )
                                                                               )
                                    6    BOWMAN DISTRIBUTION and               )
                                         BARNES GROUP, INC.,                   )
                                    7                                          )
                                                            Defendants.        )         Case No. 4:09-cv-00028 RRB
                                    8
                                                                               )
                                    9
                                                                   SATISFACTION OF JUDGMENT
                                    10
                                                 The   judgment   creditors,       Barnes      Group    Inc.   and    Barnes
                                    11
                                         Distribution      (incorrectly      named        as    Bowman     Distribution),
                                    12
                                         through counsel of record, pursuant to LR 58.5, certify that
                                    13
                                         the Final Judgment entered against Walter Stockwell on May 21,
                                    14
(907) 479-7776 fax (907) 479-7966
   411 Fourth Avenue, Suite 300
   Clapp, Peterson, Tiemessen,
   Thorsness & Johnson, LLC




                                         2013,    redistributed on July 9, 2013,                and recorded with the
    Fairbanks, AK 99701-4711




                                    15

                                    16   Alaska    Department      of   Natural     Resources,         Recorder’s    Office,

                                    17   Fairbanks District, on August 5, 2013 as Document No.: 014394-

                                    18   0,   Document    Year:     2013,   in     the     total   judgment     amount    of

                                    19   $46,383.86, has been satisfied and that all sums due on the
                                    20   judgment have been paid as of January 13, 2014.                    The full name
                                    21
                                         of the judgment debtor as it appears upon the judgment recorded
                                    22
                                         is Walter Stockwell.
                                    23

                                    24   SATISFACTION OF JUDGMENT
                                         Stockwell v. Bowman Distribtuion and Barnes Group, Inc.; Case
                                    25   No.: 4:09-cv-00028 RRB
                                         JJT/cbh/2524-1/SatisfactionJudgment
                                    26
                                         Page 1 of 2
                                          Case 4:09-cv-00028-RRB Document 71 Filed 03/12/14 Page 1 of 2
                                              DATED in Fairbanks, Alaska on the 12th day of March, 2014.
                                    1
                                                                       CLAPP PETERSON TIEMESSEN
                                    2
                                                                       THORSNESS & JOHNSON, LLC.
                                                                       Attorney for Defendants Bowman
                                    3
                                                                       Distribution and Barnes Group
                                    4                                  Inc.
                                                                            /s/ John J. Tiemessen
                                    5                                  ABA No. 9111105
                                                                       Clapp Peterson Tiemessen
                                    6                                  Thorsness & Johnson, LLC
                                                                       411 Fourth Avenue, Suite 300
                                    7                                  Fairbanks, Alaska 99701
                                                                       Phone: (907) 479-7776
                                    8
                                                                       Fax: (907) 4797966
                                                                       Email: jjt@cplawak.com
                                    9

                                    10

                                    11
                                         Certificate of Service
                                    12
                                         I hereby certify that a copy of the
                                    13   foregoing was served via
                                         U.S. Mail on:
                                    14
(907) 479-7776 fax (907) 479-7966
   411 Fourth Avenue, Suite 300
   Clapp, Peterson, Tiemessen,
   Thorsness & Johnson, LLC




                                         Walter Stockwell, Pro Se
    Fairbanks, AK 99701-4711




                                    15
                                         P.O. Box 1195
                                    16
                                         Delta Junction, AK 99737

                                    17   /s/ John J. Tiemessen

                                    18   Date: 3/12/14

                                    19

                                    20

                                    21

                                    22

                                    23

                                    24   SATISFACTION OF JUDGMENT
                                         Stockwell v. Bowman Distribtuion and Barnes Group, Inc.; Case
                                    25   No.: 4:09-cv-00028 RRB
                                         JJT/cbh/2524-1/SatisfactionJudgment
                                    26
                                         Page 2 of 2
                                          Case 4:09-cv-00028-RRB Document 71 Filed 03/12/14 Page 2 of 2
